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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
-------------------------------- x
                                                  :
                                                  :
UNITED STATES OF AMERICA
                                                  :     20 Cr. 008 (MKB)
                                                  :
                        v.                        :
                                                        ATTORNEY AFFIRMATION IN
                                                  :
                                                        SUPPORT OF MOTION TO
                                                  :
                                                        WITHDRAW AS COUNSEL
STEVEN NERAYOFF, and                              :
                                                        PURSUANT TO LOCAL RULE 1.4
MICHAEL HLADY,                                    :
                                                  :
                                                  :
                    Defendants.                   :
-------------------------------- x

               AMANDA KRAMER, an attorney admitted to practice in the State of New York,

hereby affirms under the penalty of perjury and says:

               1.        I am a partner at the law firm of Covington & Burling, LLP

(“Covington”). I submit this affidavit in support of my motion, pursuant to Eastern District of

New York Local Rule 1.4, to withdraw as counsel for defendant Steven Nerayoff.

               2.        I was engaged to represent Mr. Nerayoff in October 2019 in connection

with the criminal complaint filed against him under case number 19 Mag. 830. That engagement

was explicitly limited to the time period prior to indictment.

               3.        The Indictment in this case was returned on or about January 10, 2010. I

have not filed a notice of appearance in this docket.

               4.        The prosecution of this case will not be disrupted by my withdrawal. The

arraignment is presently scheduled for January 22, 2020. Discovery has not begun, and there are

not yet any scheduled conferences or deadlines. Accordingly, permitting my withdrawal will not

appreciably delay proceedings in this case.
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                5.     I am not asserting any liens.

Dated:      New York, New York
            January 18, 2020



                                              By:      _______________________________
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                                                       COVINGTON & BURLING LLP
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Cc:      Steven Nerayoff
         All counsel of record, via ECF




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